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                            INFORMATION SHEET

DEFENDANT: JASON LEE HENDERSON

YEAR OF BIRTH: 1986

ADDRESS: Wray, Colorado

COMPLAINT FILED?           YES      X     NO

      IF YES, PROVIDE MAGISTRATE CASE NUMBER:

HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                  __   YES        X     NO

OFFENSES:        Count 1: 18 U.S.C. '' 1956(h), 1956(a)(1)(B)(i) Conspiracy to
                 Commit Money Laundering (Concealment)

                 Count 6: 18 U.S.C. ' 1956(a)(1)(B)(i) Money Laundering
                 (Concealment)


LOCATION OF OFFENSE: Logan County, Colorado

PENALTY:         Count 1: Imprisonment of NMT 20 years, a fine of NMT $500,000 or
                 twice the value of the property involved in the transaction,
                 whichever is greater, or both fine and imprisonment; $100 special
                 assessment; a term of supervised release of NMT 3 years;
                 restitution and forfeiture.

                 Count 6: Imprisonment of NMT 20 years, a fine of NMT $500,000
                 or twice the value of the property involved in the transaction,
                 whichever is greater, or both fine and imprisonment; $100 special
                 assessment; a term of supervised release of NMT 3 years;
                 restitution and forfeiture.

AGENT:           Gary Dickens, Special Agent
                 Social Security Administration, Office of Inspector General

                 Sonia Hacker, Special Agent
                 United States Postal Inspection Service, Office of Inspector
                 General

AUTHORIZED BY: Martha A. Paluch
               Assistant U.S. Attorney

ESTIMATED TIME OF TRIAL:
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  X    five days or less

  __ over five days

      other

THE GOVERNMENT may seek detention in this case depending on the Pretrial
Services report.

OCDETF case: NO
